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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA



JOHNNY TRAWEEK                                                    CIVIL ACTION
VERSUS                                                            NO. 19-1384-MLCF-JVM
MARLIN GUSMAN, ET AL.                                             SECTION: "F" (1)


                                           ORDER

       Considering the foregoing Unopposed Motion for Extension of Time to Respond to

Defendants’ Motion for Summary by Plaintiff and for the reasons stated therein,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the motion is

hereby GRANTED.

       IT IS FURTHER ORDERED that the hearing on the motion for summary judgment is

hereby continued to August 26, 2020, on the papers.

       Signed in New Orleans, Louisiana, on this _________
                                                   24th of ____________,
                                                               July      2020.




                                                  ___________________________________
                                                        MARTIN L.C. FELDMAN
                                                   UNITED STATES DISTRICT JUDGE
